Case 2:02-cr-20323-.]DB Document 76 Filed 08/11/05 Pagelon Page|D-l-OB

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Plaintiff, *
v. * cr. No. 02.20323-B
TARIo GRAHAM, *
Defendant. *

 

ORDER GRANTING UNOPPOSED M()TION TO CONTINUE
HEARING ON SUPERVISED RELEASE VIOLATION

 

Before this Court is defendant’S unopposed motion to continue hearing on supervised
release violation, filed August 11, 2005. For good cause shown and Without opposition the
motion is GRANTED. The hearing will be reset by separate notice of this Court for
approximately 30 days out.

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]. D NIEL BREEN
D STATES DISTRICT ]UDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
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Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

